     Case 1:15-cr-00028-DAD-BAM Document 72 Filed 10/18/16 Page 1 of 2


 1    PHILLIP A. TALBERT
      Acting United States Attorney
 2    MARK J. McKEON
      Assistant United States Attorney
 3    2500 Tulare Street, Suite 4401
      Fresno, CA 93721
 4    Telephone: (559) 497-4000
      Facsimile: (559) 497-4099
 5
      Attorneys for Plaintiff
 6    United States of America

 7

 8                                         UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:15-CR-00028-DAD-BAM-1

12                          Plaintiff,

13            v.                                         ORDER FOR FORFEITURE MONEY
                                                         JUDGMENT
14    VIVIAN MARIE WILLIAMS,

15                          Defendant.

16

17            Based upon the United States’ Application for Forfeiture Money Judgment and the entry

18    of a guilty plea as to defendant Minerva Sanchez,

19            IT IS HEREBY ORDERED that

20            1.       Defendant Vivian Marie Williams shall forfeit to the United States $26,184.88 and

21    the Court imposes a personal forfeiture money judgment against the defendant in that amount.

22            2.       Any funds applied towards such judgment shall be forfeited to the United States of

23    America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

24    delivered to the United States to satisfy the personal money judgment shall be seized and held by

25    the Internal Revenue Service – Criminal Investigations, in its secure custody and control.

26            3.       This Order of Forfeiture shall become final as to the defendant at the time of

27    sentencing and shall be made part of the sentence and included in the judgment.

28    /////
     ORDER FOR FORFEITURE MONEY JUDGMENT                 1
     Case 1:15-cr-00028-DAD-BAM Document 72 Filed 10/18/16 Page 2 of 2


 1            4.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be

 2    allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

 3    Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

 4    subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

 5            5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 6    Order of Forfeiture to substitute property having a value not to exceed $26,184.88 to satisfy the

 7    money judgment in whole or in part.

 8    IT IS SO ORDERED.
 9
          Dated:      October 18, 2016
10                                                           UNITED STATES DISTRICT JUDGE

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     ORDER FOR FORFEITURE MONEY JUDGMENT                 2
